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                                UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                              )
                                                      )      Crim. No. 16-10258-ADB
                       v.                             )
                                                      )
FRANCIS P. SALEMME and                                )
PAUL M. WEADICK,                                      )
                                                      )
                       Defendants.                    )


                   GOVERNMENT'S RESPONSE TO DEFENDANT WEADICK’S
                      MOTION IN LIMINE TO EXCLUDE STATEMENTS

       The United States submits this response to the defendant Weadick’s motion to exclude

statements. Without specifying any particular statements, the defendant seeks to exclude

“irrelevant” and co-conspirator statements. Although the defendant’s brief may be a crude

primer on several rules of evidence, the government is at a loss regarding a response except to

say that the government will only seek to admit evidence permitted under the Federal Rules of

Evidence and prevailing jurisprudence.

       To the extent that the defendant objects to the admission of evidence relating to

“organized crime,” this evidence is intrinsic to the charged offense. The membership of and

association with the NELCN of the many participants who were involved in the infiltration of

The Channel, the murder of DiSarro, and the subsequent disposal of DiSarro’s remains is central

to the proof in the case at bar. Moreover, the Indictment specifically recites these relationships
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and alleges that the murder of DiSarro was committed by members and associates of the

NELCN.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                              By:    /s/ Fred M. Wyshak, Jr.
                                                     Fred M. Wyshak, Jr.
                                                     William J. Ferland
                                                     Assistant U.S. Attorneys 

        

        

                                    CERTIFICATE OF SERVICE

        I, Fred M. Wyshak, Jr., Assistant United States Attorney, hereby certify that on April 10,
2018, I served a copy of this document on counsel of record for the defendants by electronic filing.

                                                     /s/ Fred M. Wyshak, Jr.
                                                     Fred M. Wyshak, Jr.
                                                     Assistant U.S. Attorney 
